      Case 2:14-cr-00168-TOR            ECF No. 1810         filed 12/02/16      PageID.8737 Page 1 of 2
 PROB 12C                                                                            Report Date: December 2, 2016
(6/16)

                                        United States District Court

                                                       for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Veronica M. Marry                         Case Number: 0980 2:14CR00168-WFN-7
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, Chief U.S. District Judge
 Name of Supervising Judicial Officer: The Honorable Wm. Fremming Nielsen, Senior U.S. District Judge
 Date of Original Sentence: June 18, 2015
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1344, 1349
 Original Sentence:       Prison 15 months;                  Type of Supervision: Supervised Release
                          TSR - 48 months
 Asst. U.S. Attorney:     Alison L. Gregoire                 Date Supervision Commenced: May 10, 2016
 Defense Attorney:        Roger Peven                        Date Supervision Expires: May 9, 2020


                                          PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            1           Standard Condition # 7: The defendant shall refrain from excessive use of alcohol and
                        shall not purchase, possess, use, distribute, or administer any controlled substance or any
                        paraphernalia related to any controlled substance, except as prescribed by a physician.

                        Supporting Evidence: On December 2, 2016, the undersigned officer was advised by staff
                        at the Spokane RRC that they had located paraphernalia within Ms. Marry’s belongings.
                        Specifically, a device to defeat urinalysis testing.


            2           Special Condition #14: Defendant shall abstain from the use of illegal controlled
                        substances, and shall submit to drug testing, as directed by the supervising officer, but no
                        more than 6 tests per month, in order to confirm continued abstinence from these substances.

                        Supporting Evidence: On December 2, 2016, the undersigned officer was notified by staff
                        at the residential reentry center that Ms. Marry had submitted a urinalysis revealing positive
                        results for methamphetamine.
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Prob12C
Re: Marry, Veronica M
December 2, 2016
Page 2
The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the offender to
answer the allegations contained in this petition.



                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:     12/02/2016
                                                                            s/Richard Law
                                                                            Richard Law
                                                                            U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ 9]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other

                                                                            Signature of Judicial Officer

                                                                              
                                                                            Date
